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 4                          UNITED STATES DISTRICT COURT
 5                                 DISTRICT OF NEVADA
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 7

 8   UNITED STATES OF AMERICA,    )                         2:12-CR-00063-PMP-RJJ
                                  )
 9              Plaintiff,        )
                                  )                                  ORDER
10   vs.                          )
                                  )
11                                )
     ROSS HACK, MELISSA HACK, and )
12   LELAND JONES,                )
                                  )
13                                )
                Defendants.       )
14

15            This is a case in which two of the three Defendants charged, Ross Hack
16   and Melissa Hack, face a potential death sentence if convicted of the crimes
17   charged. On April 16, 2012, the Court entered a Complex Case Scheduling Order
18   pursuant to Local Rule 16-1(a)(1) and (2), in accord with the stipulation of all
19   Parties (Doc. #37). That Order carefully outlines the timing and manner of
20   production of discovery in this case. In particular, the Order recognizes the need of
21   Defendants Ross Hack and Melissa Hack to prepare for their presentation in
22   mitigation of punishment to the United States Attorney and to the Assistant Attorney
23   General in accord with the United States Department of Justice’s “Death Penalty
24   Protocol.”
25            Notwithstanding the Complex Case Scheduling Order provisions which
26   call for the production of Jenks Act material, and related Giglio material, fourteen
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 1   (14) days before trial currently scheduled for May 6, 2014, the Government has
 2   informed defense counsel that it will produce Jenks material, and related Giglio
 3   material, well in advance of trial, to wit: on or before April 16, 2013. Such early
 4   production of discovery will better enable counsel for Defendants Ross Hack and
 5   Melissa Hack to prepare for their death penalty mitigation presentations before the
 6   United States Attorney for the District of Nevada and the Assistant Attorney General
 7   of the United States. The Government contends, however, that certain discoverable
 8   documents, including, but not limited to reports of certain interviews and grand jury
 9   transcripts contains sensitive information relating to certain witnesses, should be
10   produced only subject to a “Confidential Discovery” Protective Order.
11             A dispute has arisen between the Parties with respect to the scope of the
12   Protective Order proposed by the Government. The dispute has manifested itself in
13   the form of Defendant Melissa Hack’s Motion for Expedited Discovery (Doc. #73)
14   filed January 11, 2013, Defendant Ross Hack’s Motion for Pre-Authorization
15   Discovery (Doc. #74) filed January 14, 2013, and Plaintiff United States’ Motion for
16   Protective Order (Doc. #87) filed February 4, 2013, and accompanied by Plaintiff
17   United States’ Ex Parte, In Camera Submission of Witness Materials for Review by
18   the Court (Doc. #88) filed under seal on February 5, 2013.
19             On March 6, 2013, the Court conducted a hearing regarding the foregoing
20   motions. At the close of the hearing the Court directed counsel for the Parties to
21   meet and confer and to thereafter submit to the Court a single document styled
22   “Protective Order” reflecting the provisions of a protective order to which the
23   Parties agree, as well as alternative proposals for provisions of an appropriate
24   protective order as to which the Parties could not agree. On March 7, 2013, the
25   Parties complied with the Court’s Order and submitted a single proposed “Protective
26   Order” reflecting their competing visions as to the degree of confidentiality required
                                                2
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 1   in this case. (Doc. #104).
 2             At the outset it is important to note that by their Motions for Discovery
 3   (Docs. #73 and #74) Defendants Melissa Hack and Ross Hack do not seek
 4   production of the deliberative Death Penalty Evaluation Form or Prosecution
 5   Memorandum of the United States Attorney prepared in accord with the United
 6   States Attorney Manual. Therefore, Defendants’ motions do not run afoul of United
 7   States v. Fernandez, 231 F.3d 1240 (9th Cir. 2000) which provides that such
 8   deliberative materials are not discoverable.
 9             Additionally, Plaintiff United States does not seek relief from its
10   obligation to produce exculpatory information in accord with Brady v. Maryland,
11   373 U.S. 83 (1963), and the Protective Order proposed relates solely to the identity
12   of particular witnesses, and their statements and grand jury testimony as well as
13   Giglio material relating to some of those witnesses.
14             The essence of the dispute relating to the proposed Protective Order
15   revolves around whether the “Confidential Discovery” produced pursuant the
16   proposed Protective Order may be shared with or provided to any Defendant by
17   defense counsel or “members of each defense team, including any defense attorney,
18   investigator, paralegal, or legal assistant, as well as any of their successors,” unless
19   the Court otherwise orders.
20             The Court has reviewed in camera, the witness materials submitted ex
21   parte by Plaintiff United States (Doc. #88), and finds appropriate the production of
22   those materials subject to the “Confidential Discovery” Protective Order proposed
23   by the Government, at this stage of the proceedings. As a result, and good cause
24   appearing,
25   ///
26   ///
                                                 3
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 1            IT IS ORDERED that Plaintiff United States’ Motion for Protective
 2   Order (Docs. #87 and #104) is GRANTED to the extent provided in the attached
 3   “Confidential Discovery Protective Order.”
 4            IT IS FURTHER ORDERED that Defendant Melissa Hack’s Motion for
 5   Expedited Discovery (Doc. #73) and Defendant Ross Hack’s Motion for Pre-
 6   Authorization Discovery (Doc. #74) are DENIED as moot in view of the
 7   Government’s representations that it will produce early discovery on or before April
 8   16, 2013, including discovery subject to the Court’s approved “Confidential
 9   Discovery Protective Order.”
10            IT IS FURTHER ORDERED that the discovery materials submitted ex
11   parte for the Court’s in camera review (Doc. #88) shall be produced by Plaintiff
12   United States for Defendants on or before April 16, 2013, subject to the attached
13   “Confidential Discovery Protective Order.”
14

15   DATED this 18th day of March, 2013.
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19                                            PHILIP M. PRO
                                              United States District Judge
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 6                          UNITED STATES DISTRICT COURT
 7                                 DISTRICT OF NEVADA
 8                                            ***
 9    UNITED STATES OF AMERICA,       )                2:12-CR-00063-PMP-CWH
10
                                      )
                  Plaintiff,          )
11
                                      )                CONFIDENTIAL DISCOVERY
      vs.                             )                PROTECTIVE ORDER
12
                                      )
                                      )
13
      ROSS HACK, MELISSA HACK, and )
      LELAND JONES,                   )
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                                      )
                                      )
15
                  Defendants.         )
      _______________________________ )
16
           The use and dissemination of certain “Confidential Discovery” produced by
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     Plaintiff United States shall be subject to the following Protective Order:
18
           1.     The Government’s disclosure of “Confidential Discovery” shall be
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     made subject to the following conditions:
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                  a.    Unless otherwise ordered by the Court, none of the materials
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                        marked or deemed “Confidential Discovery,” including any
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                        reference to the identity of any witness who provided a statement
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                        that has been marked “Confidential Discovery” (hereinafter
24
                        “confidential witness”) or the content of his or her statement(s),
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                        may be shared with or provided to any defendant, any witness, or
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                                                 5
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 1                   any other person nor may it be otherwise disseminated or
 2                   disclosed.
 3              b.   None of the materials or deemed “Confidential Discovery,”
 4                   including any reference to the identity of any confidential witness
 5                   or the content of his or her statement(s), may be included in any
 6                   pre-trial motion, pleading, or other document filed with the Court
 7                   unless such document is filed under seal.
 8              c.   If a party is considering using at a pre-trial hearing any of the
 9                   materials marked “Confidential Discovery” - including any
10                   reference to the identity of any confidential witness or the
11                   content of his or her statement(s) - the party will so advise all
12                   counsel in advance of the hearing, and the other parties will be
13                   given an opportunity to object to such information’s use. If, after
14                   any objections, the Court determines that such confidential
15                   information may be used during the hearing, the party seeking to
16                   use or refer to such information - at the time the party intends to
17                   introduce it - will request that the Court receive the information
18                   only in the presence of government counsel and defense counsel
19                   and other court personnel as deemed by the Court. The parties
20                   will also ask the Court to ensure that the transcript be
21                   appropriately designated as containing “Confidential Discovery.”
22              d.   If defense counsel or anyone working for on behalf of defense
23                   counsel interviews any confidential witness, the defense team
24                   will treat the information received from that witness as
25                   “Confidential Discovery,” including the identity of the
26                   confidential witness, in accordance with the restrictions set forth
                                             6
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 1                    in paragraphs a through c.
 2        2.    Nothing in this Protective Order may be construed as prohibiting the
 3              use of Confidential Discovery or confidential witnesses at any trial or
 4              hearing in this criminal proceeding.
 5        3.    In the event of an inadvertent disclosure of Confidential Discovery,
 6              including any reference to the identity of any confidential witness or the
 7              content of his or her statement(s), the party making or learning of the
 8              inadvertent disclosure will immediately:
 9              (a)   Notify the person to whom the disclosure was made that it
10                    contains Confidential Discovery subject to a protective order;
11              (b)   Make all reasonable efforts to preclude dissemination or use of
12                    the Confidential Discovery by the person to whom disclosure
13                    was inadvertently made;
14              (c)   Notify the government and other parties of the identity of the
15                    person to whom the disclosure was made, the circumstances
16                    surrounding the disclosure, and the steps taken to ensure against
17                    further dissemination or the use of the information; and
18              (d)   Notify the Court in writing under seal.
19        4.    This Protective Order applies to all members of each defense team,
20              including any defense attorney, investigator, paralegal, or legal
21              assistant, as well as any of their successors.
22        5.    Nothing in this Protective Order shall be construed to restrict the use of
23              information or documents that are lawfully obtained or publicly
24              available to a party independently of the Confidential Discovery,
25              whether or not the same material has been designated as Confidential
26              Discovery.
                                              7
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 1         6.    Nothing in this Protective Order shall be construed to bar or otherwise
 2               restrict counsel from rendering advice to his or her client with respect
 3               to the charges in the Indictment.
 4         7.    Unless otherwise Ordered by the Court, the limitations imposed by this
 5               Protective Order shall expire forty-five (45) days prior to the
 6               commencement of trial in this case.
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 8   Dated this 18th day of March, 2013.
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                                           PHILIP M. PRO
12                                         United States District Judge
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